       Case3:05-cr-00638-SI
      Case  3:05-cr-00638-SI Document
                              Document117
                                       118 Filed
                                            Filed06/13/2006
                                                  06/15/06 Page
                                                            Page11ofof22




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 4   Telephone: (415) 436-7700

 5   Counsel for Defendant LEWIS

 6

 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                                )   No. CR 05-00638 SI
11                                                            )
                                  Plaintiff,                  )   STIPULATION AND [PROPOSED]
12                                                            )   ORDER MODIFYING TRAVEL
     vs.                                                      )   RESTRICTIONS
13                                                            )
     LEROY LEWIS,                                             )
14                                                            )
                                Defendant.                    )
15                                                            )

16
           Defendant LeRoy Albert Lewis currently resides in Danville, California. On October 12,
17
     2005, Mr. Lewis was released on bond and one condition of his release is that his travel is restricted
18
     to the Northern District of California. Mr. Lewis is currently undergoing chemotherapy at Loma
19
     Linda Hospital in Loma Linda, California. The treatment that he is receiving, Proton Beam
20
     Chemotherapy, is currently only available at Loma Linda University. Mr. Lewis respectfully
21
     requests that the Court permanently modify the bond in this case in order to permit him to travel to
22
     Southern California for the purpose of receiving chemotherapy.
23
           Mr. Lewis, respectfully requests that this Court amend his bond to grant him permission to
24
     travel to and from Southern California on a permanent basis, or until such time that he no longer
25
     needs chemotherapy treatment. Should the Court grant Mr. Lewis’s request, Mr. Lewis will provide
26
     information regarding his departure dates to Pretrial Services.

     Stip and Order Permitting Travel                 -1-
       Case3:05-cr-00638-SI
      Case  3:05-cr-00638-SI Document
                              Document117
                                       118 Filed
                                            Filed06/13/2006
                                                  06/15/06 Page
                                                            Page22ofof22




 1   United States Pretrial Services Officer Betty Kim has been notified of this requested modification

 2   and has no objection. The Government by and through its agent Assistant United States Attorney

 3   Robert J. Livermore, does not have any objections to Mr. Lewis’s travel request.

 4

 5   Dated: June 8, 2006                                  Respectfully submitted,

 6

 7                                                        __________/S/_________________
                                                          DAVID W. FERMINO
 8                                                        Assistant Federal Public Defender

 9
10
                                                          __________/S/____________________
11   Dated: June 8, 2006                                  ROBERT J. LIVERMORE
                                                          Assistant United States Attorney
12
13   I hereby attest that I have on file all holograph signatures for any signatures indicated by a
14   “conformed” signature (/S/) within this e-filed document.
15
                                                    ORDER
16
          For good cause shown, IT IS HEREBY ORDERED that LeRoy Albert Lewis is permitted to
17
     travel outside of the Northern District for the purpose of receiving chemotherapy, on a permanent
18
     basis or until his chemotherapy is completed . The Court further ORDERS that Mr. Lewis will
19
     provide information in advance regarding his anticipated departure dates to Pretrial Services.
20
21
          IT SO ORDERED.
22

23                                                         s/William Alsup for
     DATED:                                               ____________________________
24                                                        SUSAN ILLSTON
                                                          UNITED STATES DISTRICT JUDGE
25

26


     Stip and Order Permitting Travel                  -2-
